        Case 1:01-cv-00027-EGB Document 182 Filed 07/17/18 Page 1 of 2




                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS

____________________________________
                                    )
PLACER MINING CO., INC., d/b/a      )
THE NEW BUNKER HILL MINING CO., )                 Civil Case No. 01-27 L
                                    )             (Before the Honorable Eric G.
      Plaintiff,                    )               Bruggink)
                                    )
              v.                    )
                                    )
THE UNITED STATES,                  )
                                    )
               Defendant.           )
____________________________________)




              JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       WHEREAS on March 8, 2018, the United States and Placer Mining Company, Inc.,

completed execution of a Consent Decree in civil action number 2:04-cv-00126 (D. Idaho),

brought by the United States pursuant to Section 107 of the Comprehensive Environmental

Response, Compensation, and Liability Act, 42 U.S.C. § 9607, in which Placer Mining Co. Inc.

agreed to dismiss this action with prejudice, among other things; and

       WHEREAS on June 19, 2018, the District Court for the District of Idaho adopted and

approved the consent decree;




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         Case 1:01-cv-00027-EGB Document 182 Filed 07/17/18 Page 2 of 2




       Now therefore IT IS HEREBY STIPULATED AND AGREED by and between the

parties to this action and their respective counsel that all claims in this action are voluntarily

dismissed pursuant to Rule 41(a)(1)(A)(ii) of the Court of Federal Claims, with prejudice.

       Respectfully submitted on behalf of the parties this 17th day of July, 2018,

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